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                Exhibit 265
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                                                                                                   H.E. Amb. Mansour 2020


                                                       Calendar entries: Public events          to functional       and               immunities under the PSJWA
               Subject                                                                                                                                   Start Date     Start Time     End Date      Duration
               2019 Vintage Ceremony IAPR hosted by the UNSG                                                                                              a7l07lzo20        15:00 a     oIloT/202C       01.00
               Pakistan side event "Honor your commitment with the People of Kashmir"                                                                     oila712020        22-.OO e    orlo7ho2c        01.50
               UNSC Debate on Upholding the UN Charter                                                                                                    ot/0912020        15:30 a     orl09/202c       02.50
               PGA           on 2020 Priorities                                                                                                           orl13/2020        20:00 a     oll13/202C       02.50
               funisia hosting a Dinner Buffet in honor of Kuwait outgoing member of the UNSC                                                             oL/ts/zozc        00:30 a     ou]5lzozt        o1.o0
               Handover Ceremony                                                                                                                          a!/Elzoz0         14:0O a     oLl15/202C       01.00
               condolences Book                                                                                                                           otl!s/zo2o        15:00 a     oLl75/202C       03.00
               G77 Meeting                                                                                                                                orlt7/2020        20:00 a     o7l17l202A       o1.00
               UNSC Debate on Palestine Question                                                                                                          ot/2r/202a        15:O0 a     orl2r/202a       07.00
               UNSG Briefing on 2020 Priorities                                                                                                           otl22l702A        15:00 a     ot/2212A2A       03.00
               NAM/CoB at the Ambassadorial level                                                                                                         07130/2A2A        20:00 a     orl301202a       02.00
           Austria & Ireland - BLUE DANUBE BALL                                                                                                           02/07/202A        00:00 a     02/or/202a       02.00
           Morocco & France: Group of Friends meeting                                                                                                     02l03/2020        20:00 a     o2l03/202A       01.50
           IAPR Luncheon in honour of Vintage PR's                                                                                                        02/04/2020        18:15 a     0210412020       o1.50
           399th CEIRPP Meeting: Will be Chaired by UNSG                                                                                                  ozl04/7020        20:00 a     azlo4l2a20       02.00
           Reception / Sri Lanka lndependence day                                                                                                         02l04l2A20        23.30 a     ozlas/7a20       02.00
           Arab Group meeting                                                                                                                             02l05l2A20        7O:0O a     o7losl2020       02.0c
           BELGIUM - Concert by the Queen Elisabeth Music Chapel (doors open at 6pm and close at 6:45pm)                                                  02/7212020        00:00 a     02/12/2a20       01.5C
           Division for Palestinian Rights annual "Briefing session for delegates"                                                                        02lt4/2020        20:00 a     02/7412020       02.0c
           10:00am to 5:30pm -lPU -2O2O Parliamentary Hearing &the 75th UN Anniversary                                                                    ozl77/7A20        15:00 a     o2l17l20ZO       01.0c
           9:30am to 5:15pm - IPU -2020 Parliamentary Hearing &the 75th UN Anniversary                                                                    02/18/zozo        L4:00 a    o2lt8lzo20        o1_0c
           5:15pm - CLOSING of IPU -2020 Parliamentary Hearing &the 75th UN Anniversary                                                                   07l18lZO20        27iQO a    ozlt8lzo20        01.0c
           G77 Ambassadorial level                                                                                                                        o2l19/2020        15:00 a    02/L9/2020        01.00
           lnterview with Arabic TRT with Marwan Zaatar (Turkish W)                                                                                       02/?r/zazo        15:45 a    02/7u2O2C         00.50
           Security Council Monthly briefing on Palestine                                                                                                 a2/2412a20        15:00 a    02/241707C        02.00
           Kuwait National Dav Reception                                                                                                                  07/2412020        23:00 a     o2125/202C       02.00
           NAM COB meeting                                                                                                                                02126/2020        2O:0O a     o2126/202C       02.00
           Opening Exhibition -African lndependence Norwegian Solidarity                                                                                  02126/2020        23:15 a    o2l27l70ZC        01_00
           CSW 64 - Ammended Prosram                                                                                                                      0310912020        14:00 a     03l09l202C       03.00
           oic Group meeting (briefing by Minister of Gambia & Minister of lreland)                                                                       03lLOl2020        L9:OO a    03lro/zozc        03.00
           IRELAND - RIVERDANCE 25 Opening night 6pm Pre-performance reception 7:30pm Performance                                                         03/7012.020       27:OO a     a31701202C      01.00
           Lithuania-Reception- Concert bV renowned accordionist Martynas Levickis                                                                        03lrrl2020        22:15 a    03/t2/2A2C       42.75
           St Patrick's Day                                                                                                                               03/27|ZO^C        27:OO a    03127 /2A2C      01.o0
           special joint thematic event "accelerated implementation ofthe 2030 agenda in LDCS to leave no one behind"                                     o4l13|ZOZC        19:00 a    04lt3l202E       03.00
           UNRWA Gaza Briefins to CEIRPP                                                                                                                  04l14lzozc        14:00 a    o4/L412028       o1.o0
           Virtual Extraordinary High Level Meeting, open to all Member States, ofthe Group of Friends of Food Security and Nutrition, on the measures
                                                                                                                                                          04/17/2028        14:15 a    04/17/2O2C        o1.75
           taken to mitigate the impacts of COVID-19 on food availabilitv and supplv
           5ecurity Council Open Debate on Palestine                                                                                                      04/23/202A        L4:00 a    04/23/ZOZA       03.00
           Arab Troika Meeting with UNSG                                                                                                                  oslosl202a        18:45 a    os/osl202a       00.50
           Virtual Arab troika (Dresident of the General Assemblv)                                                                                        osloT/707a        17:OO a    os/07 l20za      01.00
           EUROPE DAY 2020 Via Zoom link                                                                                                                  osloslzo2a        20:00 a    0510812020       00.75




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                                                                                                                                          os/1slzo20   1-5:00 a   os/lslzo20     02.00
                                                                                                                                          os/L8/2020   18:30 a    05/18/2O2O     01.00
                                                                                                                                          os/2012020   14:00 a    oSlzol20za     03.00
                                                                                                                                                       14:00 a    osl2r/202a     01.o0
                      Meeti                                                                                                                            16:00 a    0sl2rl202a     02.00
                  Meeti with Prime Minister of Canada - Justin Trudeau                                                                                 19:00 a    05l2tl202a     01.00
                  19 Sol                      Co-Existence and Shared                                                                                  77:30 a    as/221202,8    01.00
             of 5G          on       Level Week                                                                                                        19:00 a    05/29lZO\C     01.50
                informal          of the General Assem                                                                                                 20:30 a    06lorl202c     01.00
            virtual ambassadorial meeti of the          of 77                                                                                          19:00 a    06/02/202C     03.00
         UN Forum on Palestine                                                                                                                         14:00 a    06/04l20zc     02.00
                   debates of the AHWG on the Office of the President General Assem      and                  General Selection                        14:00 a    06l09/702C     01.0c
            virtual          of the         Committee on               for Small lsland Develo                     at Ambassadorial                    19:00 a    06l09lzoz1     02.0c
         Event on 75th anniversa         of UN charter                                                                                                 13:00 a    06/Lol2A20     02.0c
                 sC Candidature                                                                                                           06/7212020   17:00 a    06/t2/2020     01.0c
         lnformal              of the         on the h            week of the 75th session of the General Assem                                        19:00 a    06l77l20ZO     01.0c
                    call from Amb. de           French       Pdt of Sc                                                                                 21:30 a    06/12/7020     00.5c
                    with PGA                                                                                                              06h6/202O    15:15 a    06/7612020     01.00

         2020 Kenva's UNSC Virtual Reception                                                                                          I   o6lr6lzozo   L7:OO a    06/16/2A20     00.75
         virtual         to mark the end of                 cam        to the UNSC 2020 Elections                                                      18:00 a    a6l16l20zo     01-00

         Remittances in crisis: How to           them             convened     Switzerland and the United                                              18:00 a    06176l20ZA     01.00
                  informal                                                                                                                             19:00 a    06/z2l20za     01.00
               RWA Extraord  Virtual Ministerial                  conference                                                                           13:00 a    06/23/2A2A     01.50
         SC Monthlv Meeting on Palestine - 2334 Report                                                                                I os/z+lzoza     13:00 a    a6/24/2o7a     03.50
                                                                                                                                                       13:00 a    06/26/202C     03.00
                MEM ORATION OF THE SIGNING OF THE CHARTER OF THE UNITED NATIONS
                                                                                                                                                       13:00 a    061301202C     01.00
         lnterview with TRT Arabic       Nihal                                                                                            07           14:00 a    07l07/202C     00.50
                        Virtual Celebration                                                                                               07           72iOO a    07 /o7 l?ozc   02.00
                        of the CEIRPP                                                                                                     07           14:00 a    07/74/2o7t     03.00
                 informal           of the General committee                                                                                           20:00 a    07/L4/202C     01.oc

         Secreta             to deliver Nelson Mandela Lecture                                                                            07           13:00 a    07l18lzozc     01.0c
         Nelson Mandela Dav                                                                                                           I o7l2o/zo2o     14:00 a    0712012020     01.5C

         sc        Debate on Palestine                                                                                                    07           14:00 a    07lzLl2020     03.0c
         CEIRPP Bureau Retreat                                                                                                            o7           13:30 a    0712212020     04.00
         CEIRPP-OlC event on Jerusalem                                                                                                    a7           14:00 a    07/28lzo20     01.50
         Maldives Virtual                                                                                                                 07           17:00 a    0712812020     01.00
                  Event on lnternational                                                                                                  07           17:00 a    0713012020     01.00
         saudi Arabia virtual                                                                                                                          16:00 a    08/04/202A     01.00
                 hall           on the               week of the 75th session of GA                                                       08lD7        14:00 a    o8l07 l7A2A    01.00
                           n Situation in Lebanon"                                                                                                     14:00 a    08lLOlz02A     01.00
                 farewell               Ambassador Karel van               PR of the          of the Netherlands                                       17:00 a    oalLt/zoza     01.00
                                                                                                                                                       14:00 a    08/241202A     01_00

         Securitv Council briefing on Palestine question                                                                              I oglzslzoza     14:00 a    08lzsl20zE     02.00
                 conference in Jerusalem Youth and Women                                                                                               14:00 a    oal27l202E     o2.o0
                                                                                                                                                       16:15 a    09l02l202C     01.00




                                                                                                                                                                                    Shatsky-JD00546
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          informal meeting of the GA and ECOSOC: Briefing on the phased return to UNHQ                                                                      a9/02/2020    L9:00 a   09l02/2A2C    00.25
          CEIRPP Bureau Meeting with Dr. Zogbv                                                                                                              09/0912020    15:O0 a   09l09l202C    01.50
          UN Day of South South                                                                                                                             09lro/2.o20   L3:00 a   a9lro/202c    01.50
          Security Council's debate on "Children and armed conflict                                                                                         09ltalzozl    14:00 a   09/rolzo2c    02.00
          PGA Virtual Reception- Marking the end of the 74th Session                                                                                        09lro120?:0   20:00 a   091701202C    01.o0
          Uzbekistan lndependence day- Virtual reception programme and connection details                                                                   09/14/zoAa    77:15 a   09h4/202C     01.00
          Invitation to Virtual Event - Commemoration of the lndependence Day of the Central American States                                                09/L5/ZO2A    15:00 a   09/rs/202a    01.00
          Closing of 74th and start of 75th session                                                                                                         09/15|ZOZA    19:00 a   09/rs/2a2a    03.o0
          2nd plenary meeting of GA                                                                                                                         De/18/zoza    15:00 a   as/L8/2A2a    01.00
          High-level meeting to commemorate the 75th anniversary of the UN                                                                                  09l2I/ZA2A    13:00 a   09171,1702A   03.00
          Start of UNGA General Debate                                                                                                                      0912212020    13:00 a   09/2?.1202A   04.00
          President Abbas speech at UNGA                                                                                                                    os/25/?o2o    13:0O a   09/25/ZOZO    03.00
          SC Monthly Briefing - Palestine 2334                                                                                                              09/2912020    19:00 a   09129/2020    02.00
          a virtual reception on the occasion of the
                                                                                                                                                            ro/09/2a20    17:L5 a   to/09/2020    01.00
          50th Anniversary of the Republic of Fiji's lndependence
          plenary meeting to pay tribute to the memory of the late Amir of the State of Kuwait, His Highness Sheikh Sabah Al-Ahmad AlJaber Al-Sabah         70/7312020    14:0O a   ro/13/2o2o    01.0c
          Malta lnternational Archaeologv Dav celebrations                                                                                                  rol74/202c'   77:OO e   r017412020    01.0c
          (italy) UN Day'concert - will feature Roberto Bolle and otherworld class performers as well as the orchestra of Teatro alla Scala, and will
          include a number of classical, modern and reimagined dances curated specifically for the UN Day Concert, it will be pre-recorded at Teatro alla   to/27/2A2O    15:00 a   to/22/zo2o    01.0!
          Scala in Milan and screened in the GA Hall
          Zoom meeting with ADc                                                                                                                             70122/7020    19:00 a   tol22l702C    01.00
          Ceremony in commemoration of UN Day. afternoon meeting of GA in continuation of the high-level plenarv                                            70/26/2020    13:00 a   rol26/202c    01.00
          SC Quarterly Debate on Palestine                                                                                                                  tol26lzo20    14:0O a   101261202C    03.00
          Ramallah virtual Conf on women                                                                                                                    ro12812020    12:00 a   701281202C    01.00
          High-Level virtual Roundtable - G20 at the time of covid-19, What's at stake in 2021                                                              ro/28lzozc    18:30 a   to/28/zozE    01.50
         Virtual Reception for Switzerland's candidacv to the UN Securitv Counciltor ?O23-ZOZ4                                                              rol29lzD2C    22:OO a   701791202C    01.00
         (Zoom) Russian wrap up session on UNSC Presidency                                                                                                  10130/202C    14:30 a   701301202C    01.00
         Meeting with PGA                                                                                                                                   7r/04/zo?o    21:00 a   1"L/04lZOZC   01.00
         CEIRPP Panel Event: "lnternational Parliamentarians and the Palestine Question"                                                                    77l72lZO2A    15:00 a   LLl72/2028    02_00
         Speak at the 1st Convention of Beit Shour                                                                                                          tr/L4/zoza    21:00 a   r7l14/202A    01.00
         lnterview from Cairo                                                                                                                               nl161702a     14:00 a   \r/761202A    01.00
         Seton Hall Universitv Virtual Talk                                                                                                                 77179/702A    21:00 a   ru19/202a     02.00
         Bureau meeting                                                                                                                                     rr/231702a    16:00 a   17123/202A    01.00
         Virtual lnformal meeting of the plenarv on business continuitv                                                                                     rrl23/202a    20;00 a   LL/23/202A    01.00
         lraining session for Solidarity Day                                                                                                                17/30/zoza    15:00 a   LLl30l202A    02.00
         13th session of the Conference of States Parties                                                                                                   7L1301202A    15:00 a   rLl30l2A20    03.00
         13th session of the Conference of States Parties                                                                                                   r2/1L(ZOaA    15:00 a   72/Ou202A     03.o0
         (virtual)lnternational Solidarity Day with Palestinian People Meeting                                                                              t2lotl202a    15:00 a   12lOu202A     03.00
         gAMtoloAMopeningofGASpecial sessionoftheGAinresponsetotheCOV|D-l9pandemic                         loAMto9PMGeneral Debate                          L2/03/2A2A    14:00 a   12/03/zoza    01.00
         13th session of the Conference of States Parties                                                                                                   pla3/2020     15:00 a   12/03/zoza    01.00
         GA Special session of the GA in response to the COVID-19 pandemic                                                                                  12/o412020    15:30 a   r2lMlZOz0     01.50
         DGC Media Seminar on Peace in the Middle East                                                                                                      L2/08/7020    15:00 a   12/08/2070    03.00
         DGC Media Seminar on Middle East Peace                                                                                                             72/09/2020    15:30 a   rzl09l20zo    02.50
         CEIRPP Bureau Meetins                                                                                                                              72/tO/2020    16:00 a   rzltal2a20    02.o0
         All I want for Christmas is a stroneer multilateral svstem                                                                                         12l7A/2020    2l:3O a   12/tO/2A20    01.00




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        National Day of the State of Qatar                                                  12/to/?020   23:15 a   72lrL/2020    03.0c
        Virtual UNDP Briefine                                                               t7lr4lzo20   19:30 a   12/14l20zo    01.0c
        GA Meeting on UN75 lmplementation                                                   rTlts/zozo   15:30 a   LZl15/2020    03.0c
        sa votins                                                                           tzlL6lzo20   15:00 a   L2h6/2020     03.0c
        GA Votins 2nd Committee                                                             72/L6/2020   20:00 a   r2176/2020    01.0c
        sc Meetins on Palestine - 2334 Quarterlv Report                                     L2lzLlZO20   15:00 a   r212]-17020   03.00




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                                                    Calendar entries: Public events          to functional                          immunities under the PSJWA
          Subiect                                                                                                                                        Start Date      Start Time    End Date       Duration
          Virtual ceremony of the G-77 Chairmanship                                                                                                       or/181202!         15:00 a    0717812027        03.00
          SecurityCouncil VTCBriefing Cooperationbetweenthel.JNandregional      andsubreeioal organizations(Leasueof ArabStates)                          or/18/zozt         L5:00 a    outal?o77         01.00
          SC Open Debate on Palestine                                                                                                                     or/26/zozt         13:30 a    orl26/2077        04_00
          briefing of the Presidents of the General Assembly and the ECSOC                                                                                01,/271202r        20:00 a    orlz712027        02.00
          Open Dialogue with UN Depuw Secretary-General Amina J. Mohammed on Science for Development in the Contexi of COVID-19                           07/29/202I         15:00 a    orl29/2027        01.00
          CEIRPP Meeting with UNSG                                                                                                                        02/04/2021         15:0O a    o2/04/2027        02.00
          UK virtual briefing to update on preparations for COP26                                                                                         02/0812021         15:00 a    o7lo8/2021        01.50
          Waitansi Dav Virtual Reception                                                                                                                  0210912027         22:00 a    0210912027        01.o0
          CEIRPP Bureau Meeting with PGA                                                                                                                  ozl70/2021,        15:00 a    02/LOlZOZ1,       01.00
          Virtual informal meeting of the General Assemblv on COVID-19-related business continuitv issues -                                               ozlrolzo2r         15:30 a    07/70/2027        01.00
          ZOZI Sgtins, Festival hosted bv Ambassador Zhans Jun. PR of China                                                                               oz/Lo/202r         2L:00 a    ozl70/2027        02.00
          annual hearing of the lnter-Parliamentary Union                                                                                                 o2/L7/2021         14:00 a    o2/L71202r        03.oc
          CEIRPP virtual meeting                                                                                                                          02lL8/202!         20:00 a    ozh8lzo27         01.0c
          Co-facilitators virtual Ambassadorial level informal consultation via the Cisco WebEx Platform                                                  02122/2021         20:00 a    02/22|ZOZ1        01.0c
          Virtual CEIRPP Briefing to Diplomats                                                                                                            oz/2s/zoz7         15:0O a    02lzs/2027        03.5C
          SC Monthlv   Briefing on Palestine                                                                                                              ou26|ZOZ7          15:00 a    ozl26l2AZr        02.0c
         Virtual meeting between the Secretarv-General and the extended Troika of the Areb Grouo                                                          02/26/2027         16:00 a    02/26/2021,       00.5c
         Virtual High level Pledging Event for Humanitarian Crisis in Yemen                                                                               03/orl2a77         14:00 a    03/or/2ozr        01.0c
         lnformal meeting of the plenary on COVID-19-related business continuitv issues                                                                   03l04l2027         20:00 a    03l04l202!        01.0c
         CEIRPP Bureau Meetine with EU                                                                                                                    03l05l2027         20:00 a    03l05l202!        01.0c
         lnternational Women's Day Event                                                                                                                  03/0812027         15:00 a    03/08/2027        02.0c
         CEIRPP CSW Event on Palestinian Women                                                                                                            03/ro12021         15:00 a    03/LO12027        01.0c
         lnvitation to the 5th Retreat of the Friends of Monterrey                                                                                        03/77/2027         13:3O a    03/t7/2027        02.5C
         Virtual' lreland National Day "St Patick's Day"                                                                                                  03/L7/2027         17:0O a    03/L7/2O2L        01.oc
         lnvitation to the 5th Retreat of the Friends of Monterrev                                                                                        03lt8/zo?7         13:00 a    03lt8/zoz7        01.0c
         UNGA olenarv meetins/ int'l Dav of the Elimination of Racial Discrimination                                                                      03/19/2027         14:00 a    03/L9/ZOZ1        02.00
          Virtual lnternational Day of Nowruz                                                                                                             03/22/7077         17:00 a    03122/2021        01.50
         UNSC Meetins on Palestine and 2334 ReDort                                                                                                        03lzslzozT         14:00 a    0312512027        02.00
         Virtual ReceDtion to mark "Golden Jubilee of the lndeoendence of Bansladesh                                                                      0312612077         18:00 a    0312612027        01.00
         "Palestinian Affairs and the Biden Administration: Status Quo v. Political Engagement," Dr. Riyad Mansour, Permanent Observer of the State of
                                                                                                                                                          04/06/zoz7         16:20 a    04/06/2021        oL.42
         Palestine to the United Nations
         CEIRPP Virtual Event with UNRWA CG                                                                                                               04lo7 12071.       14:00 a    04/07/2021        01_50
         Briefins G77 on the Scientific Group for the UN Food Svstems Summit                                                                              04/oe/zoz7         15:O0 a    o4l08/2021        01.00
         PGA letter on the Hishlevel Debate on Urban Safetv. Securitv and Good covernance                                                                 04/2212027         14:O0 a    04/22/2021        01.00
         UNSC Open Debate on Palestine Question                                                                                                           04lzu2027          14:O0 a    04/2212077        03.00
          Netherlands National Dav Recceotion                                                                                                             04/2712027         I7:AO a    04127/2027        01.00
         Virtual Bureau meeting with the President of the security council                                                                                04/2.8/2027        19:00 a    04/?.8/2027       01.00
         lnformal meeting of the plenary on COVID-19-related business continuity issues                                                                   osl03/2027         14:00 a    osl03/2021.       02.o0


         Join the live webcast via http://webtv.un.org/ Memorial Service for UN Personnel                                                                 os106/2021         13:30 a    os/06/2027        01.00
         informal interactive dialosues with the candidates                                                                                               os/0612027         14:00 a    osl06l2027        05.00




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        informal interactive dialosues with the candidates                                                                                           05/0712027    14:00 a   osloTlzozt    05.0c
        Emersencv SC meetins                                                                                                                         051L6120.27   14:00 a   05lt6l20zr    01.oc
        UN Forum on the Question of Palestine "lnternational Parliamentarian Support for the QoP" To access the event, please use this weblink:
                                                                                                                                                     oslLs/2o27    14:00 a   osl18/zoz7    02,0c
        httD://un.interoret.world/losinlink?token=5-r6mLgvJx
        Joint Press Conference with Arab Group and OIC Chairs                                                                                        05/1812027    15:00 a   os/78/2027    01.0c
        lnterview w/ Mornins Joe on MSNBC                                                                                                            0511912027    12:00 a   oslL912027    01.0c
        Dinner hosted by Makhdoom Shah Mahmood Qureshi Foreign Minister of the lslamic Republic of Pakistan                                          oslzol2027    00:30 a   osl20l20z7    01.0c
        UNGA meetins                                                                                                                                 05/zolzo27    14:O0 a   os/20lzozt    01.0c
        PGA meeting at the Ministerial level, on the margin of the GA formal plenary meeting on the agenda items 37 entitled "the situation in the
                                                                                                                                                     oslzo/2o27    18:15 a   05/20/2O7r    00.75
        Middle Easf, and item 38 entitled "Question of Palestine" Principal+l
        Al Jazeera interview                                                                                                                         05/2212027    19:00 a   osl22l202t    01.0c
        30th Anniversary of Eritrea lndependence Day                                                                                                 os/24/2027    22:OO a   os/24/zo2r    01.00
        Virtual Farewell meeting with lcC Prosecutor.
        https://liechtensteinischelandesverwaltung.my.webex.com/liechtensteinischelandesverwaltung.my/j.ph      p?MTID=m74a7275f1b6246d5cd23bab      osl25/2027    12:30 a   os/2slzoz7    01.00
        5c2ba180a
        UNGA meetins on Palestine                                                                                                                    oslzs/2021    14:00 a   0512512077    02.00
        UNSC Meetins on Palestine                                                                                                                    oslzT/2027    14:00 a   os/27/2021,   03.00
        CEIRPP Bureau Meetins                                                                                                                        os/2712027    19:00 a   osl27/2027    02.00




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